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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                     8:16CR248

       vs.
                                                                        ORDER
JUAN CARLOS RUIZ-GARCIA,

                       Defendant.


       This matter is before the court on defendant's MOTION FOR EXTENSION OF TIME
TO FILE PRETRIAL MOTIONS [185]. For good cause shown, I find that the motion should be
granted. The defendant will be given an approximate 60-day extension. Pretrial Motions shall
be filed by June 19, 2017.


       IT IS ORDERED:
       1.      Defendant's MOTION FOR EXTENSION OF TIME TO FILE PRETRIAL
MOTIONS [185] is granted. Pretrial motions shall be filed on or before June 19, 2017.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between today’s date and June 19, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendant's counsel required additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).


       Dated this 20th day of April, 2017.

                                                     BY THE COURT:

                                                     s/ F.A. Gossett, III
                                                     United States Magistrate Judge
